                                  Case 23-16720-CLC                  Doc 1        Filed 08/23/23           Page 1 of 34

Fill in this information to identify your case:


United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Profundity LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7270 NW 12th ST.
                                  Suite 760
                                  Miami, FL 33126
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Centennial Airport7565 S. Peoria St., U Englewood,
                                                                                                  CO 80112
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 23-16720-CLC                 Doc 1         Filed 08/23/23              Page 2 of 34
Debtor    Profundity LLC                                                                                Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  5324

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the                 Chapter 7
     debtor filing?
                                            Chapter 9
     A debtor who is a “small
                                            Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy                 No.
     cases filed by or against             Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases               No
    pending or being filed by a            Yes.
    business partner or an
    affiliate of the debtor?
                                          It is anticipated that debtor's affiliates, Naboo Royal Cruiser LLC and Tantiv Giv LLC, will be filing their own bankruptcy
                                          cases.




     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known

 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                                Case 23-16720-CLC                      Doc 1        Filed 08/23/23              Page 3 of 34
Debtor   Profundity LLC                                                                            Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds                          Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                 Case 23-16720-CLC                    Doc 1        Filed 08/23/23             Page 4 of 34
Debtor   Profundity LLC                                                                            Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       August 23, 2023
                                                  MM / DD / YYYY


                             X                                                                            Eugene Kesselman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO of Managing Member




18. Signature of attorney    X                                                                             Date    August 23, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Brett D. Lieberman
                                 Printed name

                                 Edelboim Lieberman Revah PLLC
                                 Firm name

                                 20200 W. Dixie Hwy
                                 Suite 905
                                 Miami, FL 33180
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      305-768-9909                 Email address      brett@elrolaw.com

                                  FL    69583
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                     Case 23-16720-CLC                          Doc 1        Filed 08/23/23            Page 5 of 34




 Fill in this information to identify the case:

 Debtor name         Profundity LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           August 23, 2023                        X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Eugene Kesselman
                                                                         Printed name

                                                                         CEO of Managing Member
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                          Case 23-16720-CLC                     Doc 1        Filed 08/23/23                Page 6 of 34

 Fill in this information to identify the case:
 Debtor name Profundity LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                          Case 23-16720-CLC                     Doc 1        Filed 08/23/23                Page 7 of 34


 Debtor    Profundity LLC                                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Peter Nomikos                                                  (a) Airframe                                     $1,800,000.00             $2,500,000.00              $unknown
 522 W. Riverside                                               bearing U.S.
 Ave.                                                           Registration
 Suite N                                                        Number N144PK
 Spokane, WA 99201                                              and
                                                                manufacturer?s
                                                                serial number
                                                                1210(International
                                                                Registry
                                                                manufacturer
                                                                GULFSTREAM and
                                                                generic dropdown
                                                                model GIV); and
                                                                typecertified by the
                                                                FAA to transport at
                                                                least eight (16)
                                                                persons (including
                                                                crew) or goods in
                                                                excess of2750
                                                                kilograms.(b) Two
                                                                (2) TAY MK611-8
                                                                aircraft engines
                                                                bearing
                                                                manufacturer?s
                                                                serial numbers
                                                                16503 and
                                                                16506(International
                                                                Registry
                                                                manufacturer TAY
                                                                and generic
                                                                dropdown model
                                                                MK611-8);(c)
                                                                Garrett model
                                                                GTCP36-1506
                                                                auxiliary power unit
                                                                bearing
                                                                manufacturer?s
                                                                serial number
                                                                P-377C.(d)
                                                                Standard avionics
                                                                and equipment, all
                                                                other accessories,
                                                                additions,
                                                                modifications and
                                                                attachments
 Peter Nomikos                                                  Trade debt                                                                                                  $9,568.00
 522 W. Riverside
 Ave.
 Suite N
 Spokane, WA 99201




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                          Case 23-16720-CLC                     Doc 1        Filed 08/23/23                Page 8 of 34


 Debtor    Profundity LLC                                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Prime Jet Charter US                                           Trade debt              Unliquidated                                                                    $805,803.00
 8123 InterPort Blvd.                                                                   Disputed
 Suite H
 Englewood, CO
 80112
 Starship 1 LLC                                                 Trade debt                                                                                                $40,222.00
 16192 Coastal
 Highway
 Lewes, DE 19958
 Tapjets Inc.                                                                                                                                                           $568,221.00
 3707 Cypress Creek
 Pkw
 Suite 103
 Spring, TX 77379
 Vision Depot, LTD.                                             Trade debt                                                                                              $167,680.00
 C/O Lui Hui
 929 NE 211th St.

 Miami, FL 33179




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                            Case 23-16720-CLC                                    Doc 1              Filed 08/23/23                        Page 9 of 34
 Fill in this information to identify the case:

 Debtor name            Profundity LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        3,813,041.46

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,813,041.46


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,600,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,591,494.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,191,494.00




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                    Case 23-16720-CLC                    Doc 1     Filed 08/23/23       Page 10 of 34
 Fill in this information to identify the case:

 Debtor name         Profundity LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Truist                                                  Checking                        9557                                             $2.34




           3.2.     Truist                                                  Checking                        3734                                         $18.72



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                     $21.06
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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                                    Case 23-16720-CLC                        Doc 1        Filed 08/23/23           Page 11 of 34
 Debtor         Profundity LLC                                                                        Case number (If known)
                Name


           11a. 90 days old or less:                                 10,001.40   -                                   0.00 = ....                 $10,001.40
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                            1,303,019.00        -                                  0.00 =....                $1,303,019.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                          $1,313,020.40
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                       Net book value of         Valuation method used   Current value of
           Include year, make, model, and identification numbers                     debtor's interest         for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                             (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                                    Case 23-16720-CLC                    Doc 1     Filed 08/23/23        Page 12 of 34
 Debtor         Profundity LLC                                                               Case number (If known)
                Name

            49.1.    (a) Airframe bearing U.S. Registration
                     Number N144PK and manufacturer?s
                     serial number 1210
                     (International Registry manufacturer
                     GULFSTREAM and generic dropdown
                     model GIV); and type
                     certified by the FAA to transport at least
                     eight (16) persons (including crew) or
                     goods in excess of
                     2750 kilograms.
                     (b) Two (2) TAY MK611-8 aircraft engines
                     bearing manufacturer?s serial numbers
                     16503 and 16506
                     (International Registry manufacturer TAY
                     and generic dropdown model MK611-8);
                     (c) Garrett model GTCP36-1506 auxiliary
                     power unit bearing manufacturer?s serial
                     number P-377C.
                     (d) Standard avionics and equipment, all
                     other accessories, additions, modifications
                     and attachments                                               $4,500,000.00     Liquidation                $2,500,000.00



 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.
                                                                                                                            $2,500,000.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
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                                    Case 23-16720-CLC                    Doc 1     Filed 08/23/23       Page 13 of 34
 Debtor         Profundity LLC                                                               Case number (If known)
                Name



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           potential causes of action against Prime Jet Charter US on
           various theories of relief including breach of contract, fraud,
           negligence, and others.                                                                                            Unknown
           Nature of claim
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.
                                                                                                                                $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 4
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
                                      Case 23-16720-CLC                             Doc 1            Filed 08/23/23                  Page 14 of 34
 Debtor          Profundity LLC                                                                                     Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                  $21.06

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                $1,313,020.40

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                  $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                 $2,500,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                        $3,813,041.46             + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,813,041.46




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                            page 5
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                                     Case 23-16720-CLC                      Doc 1          Filed 08/23/23           Page 15 of 34
 Fill in this information to identify the case:

 Debtor name         Profundity LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1   Peter Nomikos                                 Describe debtor's property that is subject to a lien                 $1,800,000.00             $2,500,000.00
       Creditor's Name                               (a) Airframe bearing U.S. Registration Number
                                                     N144PK and manufacturer?s serial number
                                                     1210(International Registry manufacturer
                                                     GULFSTREAM and generic dropdown model
                                                     GIV); and typecertified by the FAA to transport at
                                                     least eight (16) persons (including crew) or
                                                     goods in excess of2750 kilograms.(b) Two (2)
                                                     TAY MK611-8 aircraft engines bearing
                                                     manufacturer?s serial numbers 16503 and
                                                     16506(International Registry manufacturer TAY
                                                     and generic dropdown model MK611-8);(c)
                                                     Garrett model GTCP36-1506 auxiliary power unit
                                                     bearing manufacturer?s serial number
                                                     P-377C.(d) Standard avionics and equipment, all
       522 W. Riverside Ave.                         other accessories, additions, modifications and
       Suite N                                       attachments
       Spokane, WA 99201
       Creditor's mailing address                    Describe the lien
                                                     Security interest collateral for note
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       8/11/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. Vision Depot, LTD.
       2. Peter Nomikos

 2.2   Vision Depot, LTD.                            Describe debtor's property that is subject to a lien                 $1,800,000.00             $2,500,000.00
       Creditor's Name                               (a) Airframe bearing U.S. Registration Number
       C/O Lui Hui




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
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                                     Case 23-16720-CLC                      Doc 1          Filed 08/23/23            Page 16 of 34
 Debtor       Profundity LLC                                                                           Case number (if known)
              Name

       929 NE 211th St.                              N144PK and manufacturer?s serial number
                                                     1210(International Registry manufacturer
       Miami, FL 33179                               GULFSTREAM and generic dropdown model
                                                     GIV); and typecertified by the FAA to transport at
                                                     least eight (16) persons (including crew) or
                                                     goods in excess of2750 kilograms.(b) Two (2)
                                                     TAY MK611-8 aircraft engines bearing
                                                     manufacturer?s serial numbers 16503 and
                                                     16506(International Registry manufacturer TAY
                                                     and generic dropdown model MK611-8);(c)
                                                     Garrett model GTCP36-1506 auxiliary power unit
                                                     bearing manufacturer?s serial number
                                                     P-377C.(d) Standard avionics and equipment, all
                                                     other accessories, additions, modifications and
                                                     attachments

       Creditor's mailing address                    Describe the lien
                                                     Security interest collateral for note
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       8/11/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       Specified on line 2.1

                                                                                                                                $3,600,000.0
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                           0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
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                                    Case 23-16720-CLC                      Doc 1         Filed 08/23/23                 Page 17 of 34
 Fill in this information to identify the case:

 Debtor name         Profundity LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,568.00
           Peter Nomikos
           522 W. Riverside Ave.
                                                                                Contingent
           Suite N                                                              Unliquidated
           Spokane, WA 99201                                                    Disputed
           Date(s) debt was incurred 10/21/21                                Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $805,803.00
           Prime Jet Charter US
                                                                                Contingent
           8123 InterPort Blvd. Suite H                                         Unliquidated
           Englewood, CO 80112                                                  Disputed
           Date(s) debt was incurred 6/30/2023                               Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $40,222.00
           Starship 1 LLC
                                                                                Contingent
           16192 Coastal Highway                                                Unliquidated
           Lewes, DE 19958                                                      Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $568,221.00
           Tapjets Inc.
           3707 Cypress Creek Pkw
                                                                                Contingent
           Suite 103                                                            Unliquidated
           Spring, TX 77379                                                     Disputed
           Date(s) debt was incurred 6/30/23                                 Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
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                                    Case 23-16720-CLC                      Doc 1         Filed 08/23/23                 Page 18 of 34
 Debtor        Profundity LLC                                                                         Case number (if known)
               Name

 3.5        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $167,680.00
            Vision Depot, LTD.
            C/O Lui Hui
            929 NE 211th St.
                                                                                Contingent
                                                                                Unliquidated
            Miami, FL 33179                                                     Disputed
            Date(s) debt was incurred 10/21/2021                             Basis for the claim: Trade debt
            Last 4 digits of account number                                  Is the claim subject to offset?       No        Yes



 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                     1,591,494.00

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.       $                         1,591,494.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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                                    Case 23-16720-CLC                   Doc 1       Filed 08/23/23        Page 19 of 34
 Fill in this information to identify the case:

 Debtor name         Profundity LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Aircraft Management
             lease is for and the nature of               Contract (Business
             the debtor's interest                        Contract, Charter Sales
                                                          Revenue)
                 State the term remaining                                               Tapjets Inc.
                                                                                        3707 Cypress Creek Pkw
             List the contract number of any                                            Suite 103
                   government contract                                                  Houston, TX 77068


 2.2.        State what the contract or                   Charter Lease
             lease is for and the nature of               Agreement (for notice
             the debtor's interest                        purposes only)

                 State the term remaining
                                                                                        Prime Jet Charter US
             List the contract number of any                                            8123 InterPort Blvd. Suite H
                   government contract                                                  Englewood, CO 80112


 2.3.        State what the contract or                   Aircraft Services
             lease is for and the nature of               Agreement (for notice
             the debtor's interest                        purposes only)

                 State the term remaining
                                                                                        Prime Jet Charter US
             List the contract number of any                                            8123 InterPort Blvd. Suite H
                   government contract                                                  Englewood, CO 80112




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                    Case 23-16720-CLC                 Doc 1      Filed 08/23/23       Page 20 of 34
 Fill in this information to identify the case:

 Debtor name         Profundity LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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                                    Case 23-16720-CLC                      Doc 1        Filed 08/23/23             Page 21 of 34



 Fill in this information to identify the case:

 Debtor name         Profundity LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $761,136.00
       From 01/01/2023 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $3,589,528.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,038,448.00
       From 01/01/2021 to 12/31/2021
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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                                    Case 23-16720-CLC                      Doc 1        Filed 08/23/23             Page 22 of 34
 Debtor       Profundity LLC                                                                            Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Prime Jet Charter US v.                          Breach of                  District Court, Arapahoe                       Pending
               Profundity LLC                                   Contract/Lien              County, Colorado                               On appeal
               2023CV31123                                                                 7325 S. Potomac St.                            Concluded
                                                                                           Englewood, CO 80112


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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                                    Case 23-16720-CLC                        Doc 1        Filed 08/23/23               Page 23 of 34
 Debtor        Profundity LLC                                                                              Case number (if known)



       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Edelboim Lieberman Revah,
                 PLLC                                                $50,000 payment was made by Tapjets Inc.
                 20200 W. Dixie Highway, Suite                       for the benefit of the Debtor, Profundity LLC,
                 905                                                 and affiliated entity Naboo Royal Cruiser, LLC            August 11,
                 Miami, FL 33180                                     (allocated $25,000 each).                                 2023                 $50,000.00

                 Email or website address
                 www.elrolaw.com

                 Who made the payment, if not debtor?
                 Tapjets Inc.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers           Total amount or
                                                                                                                        were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                     Date transfer          Total amount or
                Address                                         payments received or debts paid in exchange                was made                        value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                    Dates of occupancy
                                                                                                                            From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3

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                                    Case 23-16720-CLC                      Doc 1        Filed 08/23/23             Page 24 of 34
 Debtor      Profundity LLC                                                                             Case number (if known)



    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides
                                                                the debtor provides                                                     meals and housing,
                                                                                                                                        number of patients in
                                                                                                                                        debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4

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                                    Case 23-16720-CLC                      Doc 1        Filed 08/23/23             Page 25 of 34
 Debtor      Profundity LLC                                                                             Case number (if known)



For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Sharkey Abo Rodeffer & Associates, LLC                                                                                     recently engaged to
                    449 N. Pennsylvania, Ave.                                                                                                  assist with
                    Morrisville, PA 19067                                                                                                      preparation of tax
                                                                                                                                               returns

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 5

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                                    Case 23-16720-CLC                      Doc 1        Filed 08/23/23             Page 26 of 34
 Debtor      Profundity LLC                                                                             Case number (if known)



                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Maria Tsenaeva-Kesselman
                    7270 NW 12th St., Suite 760
                    Miami, FL 33126

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Tapjets Holdings Inc.                         7270 NW 12th St., Suite 760                          Managing Member                        100%
                                                     Miami, FL 33126                                                                             ownership
                                                                                                                                                 interest
       Name                                          Address                                              Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Eugene Kesselman                              7270 NW 12th St., Suite 760                          CEO of Managing Member,                0 direct
                                                     Miami, FL 33126                                      TapJets Holdings, Inc.                 interest



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                   Amount of money or description and value of              Dates               Reason for
                                                                property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    TapJets Holdings Inc.                                                                                      EIN:




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6

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                                    Case 23-16720-CLC                      Doc 1        Filed 08/23/23             Page 27 of 34
 Debtor      Profundity LLC                                                                             Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          August 23, 2023

                                                                        Eugene Kesselman
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO of Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7

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                                   Case 23-16720-CLC                      Doc 1      Filed 08/23/23              Page 28 of 34
                                                             United States Bankruptcy Court
                                                                      Southern District of Florida
 In re      Profundity LLC                                                                                           Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Tapjets Holdings Inc.                                               Sole Member                                                100% member interest
 7270 NW 12th St., Suite 760
 Miami, FL 33126


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the CEO of Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date       August 23, 2023                                                  Signature
                                                                                           Eugene Kesselman

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                   Case 23-16720-CLC                     Doc 1        Filed 08/23/23   Page 29 of 34




                                                             United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Profundity LLC                                                                               Case No.
                                                                                  Debtor(s)              Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX


I, the CEO of Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:        August 23, 2023
                                                                        Eugene Kesselman/CEO of Managing Member
                                                                       Signer/Title




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Case 23-16720-CLC   Doc 1   Filed 08/23/23   Page 30 of 34
              Peter Nomikos
              522 W. Riverside Ave. Suite N
              Spokane, WA 99201


              Prime Jet Charter US
              8123 InterPort Blvd. Suite H
              Englewood, CO 80112


              Starship 1 LLC
              16192 Coastal Highway
              Lewes, DE 19958


              Tapjets Inc.
              3707 Cypress Creek Pkw Suite 103
              Houston, TX 77068


              Vision Depot, LTD.
              C/O Lui Hui 929 NE 211th St.
              Miami, FL 33179
                                      Case 23-16720-CLC                      Doc 1     Filed 08/23/23        Page 31 of 34



                                                                     United States Bankruptcy Court
                                                                         Southern District of Florida
  In re      Profundity LLC                                                                                    Case No.
                                                                                      Debtor(s)                Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Profundity LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Tapjets Holdings Inc.
 7270 NW 12th St., Suite 760
 Miami, FL 33126




     None [Check if applicable]




  August 23, 2023
 Date                                                                    Brett Lieberman
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Profundity LLC
                                                                         Edelboim Lieberman Revah Oshinsky PLLC
                                                                         20200 W. Dixie Hwy
                                                                         Suite 905
                                                                         Miami, FL 33180
                                                                          Fax:
                                                                         brett@elrolaw.com




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                                       Case 23-16720-CLC                    Doc 1         Filed 08/23/23         Page 32 of 34

                                                           UNITED STATES BANKRUPTCY COURT
                                                                          Southern District of Florida
                                                                          www.flsb.uscourts.gov

 In Re:                                                                                   Case Number
 Profundity LLC                                                                           Chapter 11


                                                                        Debtor(s)     /


  DECLARATION UNDER PENALTY OF PERJURY TO ACCOMPANY PETITIONS, SCHEDULES, FILING
              FEE APPLICATIONS AND STATEMENTS FILED ELECTRONICALLY

Note: This declaration must be filed with each electronically filed initial petition or amended petition and must contain the imaged
signature of the debtor. This declaration must also be filed with an initial schedule, Application to Pay Filing Fee in Installments,
Application for Waiver of the Chapter 7 Filing Fee, SFA, Statement of Social Security Number, or Statement of Current Monthly
Income (OBF 22) not filed with the initial petition or any amended schedules, SFA, Statement of Social Security Number, and/or
Statement of Current Monthly Income (OBF 22) unless these documents contain an imaged signature of the debtor(s).

Check all documents that apply to this declaration

                                                                                             Application for Waiver of the Chapter 7 Filing Fee for Individuals Who
     Application by Individual Debtor to Pay Filing Fee in Installments                      Cannot Pay the Filing Fee in Full or in Installments
     Voluntary petition signed by me on                          August 23, 2023             Amended voluntary petition signed by me on
     Schedules signed by me on                                   August 23, 2023             Amended schedules signed by me on
     Statement of Financial Affairs signed by me on              August 23, 2023             Amended Statement of Financial Affairs signed by me on
     Statement of Social Security Number(s) signed by                                        Amended Statement of Social Security Number(s) signed by
       me on                                                                                 me on
     Statement of Current Monthly Income (OBF 22)                                            Amended Statement of Current Monthly Income (OBF 22)
       signed by me on                                                                       signed by me on

I, Eugene Kesselman                               , the undersigned debtor(s) hereby declare under penalty of perjury as follows:

1.        I have reviewed and signed the original(s) of the document(s) identified above and the information contained in the Verified
          Document(s) is true and correct to the best of my knowledge and belief.

2.        I understand that Verified Document(s) filed in electronic form shall be treated for all purposes (both civil and criminal,
          including penalties of perjury) in the same manner as though signed or subscribed.

3.        I understand that the Verified Document(s) will be filed by my attorney in electronic form in connection with the above
          captioned case and that I have received and reviewed copies of the Verified Document(s) I have signed.

4.        I understand that my attorney is required by the court to retain the original signed Verified Document(s) for five years from date
          of discharge, dismissal or the conclusion of any pending appeals in this case and provide these documents to the court upon
          request at any time.


 Signature of Debtor                                                                        Signature of Joint Debtor (if applicable)
 (If non individual, authorized corporate representative)

     Eugene Kesselman, authorized agent
 Print or Type Name (and title if applicable)                                               Print Name

 Brett Lieberman                                                                             305-768-9909
 Print or Type Name of Attorney for Debtor                                                  Phone:




LF-11 (rev. 03/06/12)
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              Case 23-16720-CLC         Doc 1    Filed 08/23/23     Page 33 of 34


         WRITTEN CONSENT OF THE SOLE AND MANAGING MEMBER OF
                             Profundity, LLC


Through this Written Consent of the Sole and Managing Member of Profundity, LLC, a
Delaware LLC (“Profundity”), Tapjets Holdings, Inc., a Florida corporation (“Member”), on
August 23, 2023, the following resolutions have been adopted by Member, the Sole and
Managing Member of Profundity:


       BE IT RESOLVED that notwithstanding any term(s) or provision(s) (the “Other
Provisions”) of any agreement(s) or understanding(s) to the contrary to which Profundity is a
party, whether written or verbal (“Other Agreements”), and to the extent there are any such
Other Provisions or Other Agreements, these resolutions shall hereby control, supersede and
replace such Other Provisions, and any such Other Agreements are hereby modified to reflect the
terms and provisions set forth in these resolutions.

        BE IT FURTHER RESOLVED that Profundity authorizes and empowers Eugene
Kesselman, CEO and authorized agent of the Member (the foregoing an “Authorized Officer”) to
file a voluntary Petition for relief under Chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Florida
(Miami Division) on behalf of Profundity, which filing is hereby approved (the “Chapter 11
Proceedings”); and

        BE IT FURTHER RESOLVED that the Authorized Officer is hereby authorized and
directed, in the name of Profundity and on its behalf, to seek such orders from the Bankruptcy
Court, including without limitation, orders regarding the operation of the business and the
financing thereof, as any of them may deem necessary or advisable during the pendency of the
Chapter 11 Proceedings, including taking any and all action necessary to comply with the duties
and obligations of Profundity under and related to the Bankruptcy Code, and in connection
therewith, to execute and file with the Bankruptcy Court such motions, applications, pleadings,
certifications, affidavits or other materials, including a disclosure statement and plan of
reorganization, as any Authorized Officer may deem necessary or advisable and to retain all
assistance from legal counsel, accountants, consultants and other professionals, and to take any
and all actions, as they, or any one of them, deem necessary or advisable with respect to the
Chapter 11 Proceedings; and

        BE IT FURTHER RESOLVED, that the Authorized Officer of Profundity is hereby
authorized to immediately take any and all actions necessary to effectuate an orderly and
efficient bankruptcy filing so as to maximize the value of such assets for the benefit of creditors
in the Chapter 11 Proceedings; and

        BE IT FURTHER RESOLVED that Profundity, through its Authorized Officer, is
authorized (i) to retain the law firm of Edelboim Lieberman Revah PLLC (“ELR”) as general
bankruptcy counsel to render legal services to and to represent Profundity in connection with the
Chapter 11 Proceedings and any other matters in connection therewith, including without
limitation, in the preparation and prosecution of the Chapter 11 case and all proceedings arising
out of or related thereto upon such terms as set forth in the Engagement Agreement; and (ii)
subject to Bankruptcy Court of approval to retain on behalf of Profundity, such other

                                            Page 1 of 2
                Case 23-16720-CLC        Doc 1    Filed 08/23/23     Page 34 of 34


 professionals that the Authorized Officer deems necessary or advisable to represent or assist
 Profundity as is necessary in connection with the Chapter 11 Proceedings upon such terms as are
 necessary; and

         BE IT FURTHER RESOLVED that Profundity is hereby authorized to pay ELR a
 retainer of up to $75,000.00 for bankruptcy costs and services (the “Bankruptcy Retainer”), plus
 such other amounts as set forth in the Engagement Agreement and as authorized by the United
 States Bankruptcy Court, and to borrow any such amounts sufficient to fund such Bankruptcy
 Retainer; and

        BE IT FURTHER RESOLVED that Profundity is hereby authorized to borrow
 $75,000.00 to make the Bankruptcy Retainer; and

          BE IT FURTHER RESOLVED that Profundity, through its Authorized Officer, is
 authorized (i) to retain the law firm of the Law Offices of Roman Groysman (“RG”) as special
 litigation counsel to render legal services to and to represent Profundity in connection with the
 Chapter 11 Proceedings and any other matters in connection therewith, including without
 limitation, in the preparation and prosecution of the Chapter 11 case and all proceedings arising
 out of or related thereto upon such terms as set forth in the Engagement Agreement; and (ii)
 subject to Bankruptcy Court of approval to retain on behalf of Profundity, such other
 professionals that the Authorized Officer deems necessary or advisable to represent or assist
 Profundity as is necessary in connection with the Chapter 11 Proceedings upon such terms as are
 necessary; and

         BE IT FURTHER RESOLVED, that the Authorized Officer of Profundity is hereby
 authorized, empowered and directed to do all things and to take all actions which such officer
 may deem necessary or advisable to accomplish the purposes and intent of the foregoing
 resolutions; and

         BE IT FURTHER RESOLVED, that any and all actions previously taken by any
 director, member, manager, officer, employee or agent of Profundity regarding or related to
 Profundity’s liquidation and/or restructuring or the subject matter of any and all of the foregoing
 resolutions are hereby ratified, confirmed and approved in all respects; and

           BE IT FURTHER RESOLVED that the foregoing resolutions shall be effective as of
     rd
the 23    day of August, 2023.


 Profundity, LLC

 By: Tap Jets Holdings, Inc., its Sole and Managing Member
                                                August 23, 2023
          By: ___________________________ Date: ______

              Eugene Kesselman, CEO and Authorized Agent of Tap Jets Holdings Inc.




                                             Page 2 of 2
